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Exhibit 3
Letter, Stevens to Pierce, May 13, 2010

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SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

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May 13, 2010

By Facsimile and U.S. Mail
Archie Carl Pierce

Wright & Greenhill, P.C.

221 West 6th Street, Suite } 800
Austin, Texas 7870]

RE: Barlow y, Pfizer

Dear Mr. Pierce:

[ am in receipt of your letter dated May 3, 2010. In response to
Plaintiff's Amended Motion to Compel and Judge Sorokin’s March 24, 2010, order
Pfizer conducted extensive searches for responsive materials within the tight
dead}ine set forth by Judge Sorokin, [ offer the following explanation in an attempt
to address the issues raised in your letter:

= The bulk of the prescriber-specific materials produced to you were
identified in connection with your request for MedWatch and adverse
event reports.

» Defendants conducted a review of both the paper and electronic custodial
files for the sales representatives identified in this action. Pfizer has not
identified any responsive materials from these files.

«Pfizer's search for medical liaisons that may have interacted with
plaintiffs prescribers produced no responsive data,

* Pfizer's investigation indicates that none of the prescribers identified in
this matter appear in any grant request, clinical trial jnformation and/or
received any payments from Pfizer. Despite the mention in document
130 of a possible participation in a preceptorship, after a reasonable, good
faith search, Pfizer has been unable to locate records of any payment

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Archic Carl Pierce
May 13, 2010
Page 2

which would indicate that this prescriber actually participated in this
program,

* As noted in our discovery responses, Pfizer is curently unaware of any
databases or other centralized files that identify physicians wha attended
meetings or events related to Neurontin.

« In addition to the marketing materials previously produced in these cases,
Pfizer was able to identify medical information letters that were provided
to prescribers, which — along with a complete set of any medical records
in Pfizer's possession regarding Plaintiff — constitute the remainder of the
current production. For example, your letler references document 204
which indicates that Dr. Atwal wanted to know if it was common for
patients on Neurontin after a few months to become agitated, In the
recent production, Pfizer praduced information which was provided to
prescribers in response to such an inquiry.

» Pfizer has been unable to identify whether any additional correspondence
or “Dear Doctor” Jetters were sent to Plaintiff's prescribers at this time.

We will continue to look for responsive documents and will certainly
supplement our production if additional responsive materials are located. Ag to your
request for a privilege log, the one document that was redacted was not done so for
privilege, but rather was redacted due to responsiveness. The several pages that were
redacted relate lo an adverse event report for another individual. If however, you
would still like a log to reflect this we would be happy to put together such a log. |
believe this addresses the issues raised in your letter, However, should you still have
outstanding concerns we would welcome the Opportunity to discuss them with you at
your convenience.

Very truly yours,

("athena Wm

Catherine Stevens

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